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          EXHIBIT
             B
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1

    AO 88B (Rbv. 02/14) Subpoena to Produce Documents, Information, 01 Objects or to Peimit Inspection of Premises in a Civil Action


                                           United States District Court
                                                                         for the
                                                             Western District of New York

                        JESSICA B. SERRETT
                                   Plaintiff                                      )                                       »
                                      V.                                          )        Civil ActionNo.         23-cv^^1-
           BARRY PORSCH, RONALD PAWELCZAK,
             AMY FIELDS, and JANE DOES, et al.
                                                                                  )
                                                                                  )
                                                                                                                         ^3' ’
                                  Defendant                                       )                                                      TJ
                            SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR                                                  OBJECT^’
                              OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION                                                      2
                                                            New York State Unified Court System
    To:

                                                           (Name of person to whom this subpoena is directed)

            Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
    documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
    material:See Exhibit 1


    iPlace: 118 Genesee St., Geneva, NY 14456, or as mutually                               Date and Time:
               agreed                                                                         30 days from the date of service,
                                                                                           . or as mutually agreed
            Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
    other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
    may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it

      Place:                                                                                Date and Time:



                                                                                             -
           The following provisions of Fed. R. Civ. P. 45 are attached Rule 45(c), relating to the place of compliance;
    Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
    respond to this subpoena and the potential consequences of not doing so.
    Date:         07/31/2024

                                       CLERK OF COURT
                                                                                                 OR

                                                Signature of Clerk or Deputy Clerk

     The name, address, e-mail address, and telephone number of the attorney representing (name of party)      Plaintiff
    Jessica Serrett                                                          , who issues or requests this subpoena, are:
    Greg Silverman; 118 Genesee St., Geneva, NY 14456; greg@silverman-law.com; 585-480-6686

                                   Notice to the person who issues or requests this subpoena
    If this subpoena commands the production of documents, electronically stored information, or tangible things or the
    inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
    it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14} Subpoena to Produce Documents. Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil ActionNo. 23-CV-6291

                                                               PROOF OF SERVICE
                     (This section should not befiled with the court unless required by Fed. R. Civ. P. 45.)

         Ireceived this subpoena for (name of individual and title, if any)
on (date)

                Iserved the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

                Ireturned the subpoena unexecuted because:


            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents,Ihave also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .
My fees are $                                      for travel and $                             for services, for a total of $                0.00


          Ideclare under penalty of peijury that this information is true.


Date:                                                                                                                             __
                                                                                                   Server’s signature


                                                                                                 Printed name and title




                                                                                                    Server's address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Adion(Pagc 3)

                            Federal Rule of Civil Procedure 45 (c), (d), (c), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                              (ii) disclosing an unretained expert's opinion or information that does
                                                                                 not describe specific occurrences in dispute and results from the expert’s
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a               study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                  (Q Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or             described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                       modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly      conditions if the serving party:
transacts business in person, if the person                                           (i) shows a substantial need for foe testimony or material that cannot be
     (i) is a party or a party’s officer, or                                     otherwise met without undue hardship; and
     (ii) is commanded to attend a trial and would not incur substantial              (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                 (e) Duties In Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
  (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is       procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                          information:
  (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                       must organize and label them to correspond to the categories in foe demand.
                                                                                     (B) Formfor Producing Electronically Stored Information Not Specified
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps         information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the              which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court forttie district where compliance is required must               (C) Electronically Storedinformation Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include            person responding need not produce foe same electronically stored

foils to comply.
                                             —
tost earnings and reasonable attorney’s fees on a party or attorney who           information in more than one form.
                                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources (hot the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to           order, the person responding must show that foe information is not
permit the inspection of premises, need not appear in person at foe place of      reasonably accessible because of undue burden or cost If that showing is
production or inspection unless also commanded to appear for a deposition,        made, foe court may nonetheless order discovery from such sources if the
bearing, or trial.                                                                requesting party shows good cause, considering foe limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on foe party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or           (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting foe premises—or to           (A) Information Withheld A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.       under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of foe time specified for         material must:
compliance or 14 days after the subpoena is served. If an objection is made,          (i) expressly make foe claim; and
the following rules apply:                                                            (ii) describe foe nature of the withheld documents, communications, or
     (i) At any time, on notice to foe commanded person, foe serving party        tangible things in amanner that, without revealing information itself
may move the court for the district where compliance is required for an           privileged or protected, will enable foe parties to assess the claim.
order compelling production or inspection.                                          (B) Information Produced If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the       subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from     trial-preparation material, foe person making foe claim may notify any party
significant expense resulting from compliance .                                   that received foe information of the claim and foe basis for it After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose foe information
  (A) When Required. On timely motion, foe court for foe district where           until foe claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                      information if foe party disclosed it before being notified; and may promptly
     (i) fails tn allow a reasonable time to comply;                              present foe information under seal to foe court for the district where
     (ii) requires a person to comply beyond foe geographical limits              compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                          produced the information must preserve the information until the claim is
     (ill) requires disclosure of privileged or other protected matter, if no     resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                      (g) Contempt
  (B) When Permitted. To protect a person subject to or affected by a             The court for foe district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on         motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                              who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,               subpoena or an order related to it.
development, or commercial information; or


                                         For access to subpoena materials, see Fed. R Civ. P. 45(a) Committee Note (2013).
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                                          EXHIBIT 1

                                          DEFINITIONS
        1.      “Personnel file” means any and all records maintained either in the normal course
of business or for any special purpose with respect to the application, course of employment, and
termination of any employee of defendant, and specifically includes applications, disciplinary
notices, performance evaluations, employment histories or summaries, records of residential
addresses and telephone numbers, termination notices, job assignment or classification records,
Salary/Benefit Data, compensation, benefits and other similar records. This definition is not
limited to the Defendants' description of a “personnel file,” but includes all the Documents listed
above no matter how maintained.
        2.      “Action” shall mean the matter pending in the United States District Court for the
Western District of New York, Civil Action No. 6:23-cv-06291, entitled Jessica Serrell v. Barry
Porsch, et al.
        3.       Jessica Serrett’s “termination” means the termination or separation of the Jessica
Serrett’s employment with Barry Porsch and the New York State Office of Court Administration,
notwithstanding any contention that Jessica Serrett was not terminated, resigned, or that die
separation was classified as something other than a termination.
        4.      “Communication” means the transmittal of information (in the form of facts,
ideas, inquiries or otherwise), including without limitation as depicted in a document.

        5.      “Concerning” means relating to, referring to, describing, evidencing or
constituting.

       6.       “Document” is defined to be synonymous in meaning and equal in scope to the
usage of this term in Fed.R.Civ.P. 34(a), including, without limitation, electronic or
computerized data compilations such as text messages. A draft or non-identical copy is a
separate document within the meaning of this term.

        7.      “Person” is defined as any natural person or any business, legal or governmental
entity, or association.

        8.      “UCS” shall mean the New York State Unified Court System, including without
limitation its administrative arm, the Office of Court Administration (“OCA”).

                                        INSTRUCTIONS

        1.     In complying with these requests, you are to produce all responsive documents
and communications in your possession, custody, or control, including without limitation the
personal cell phones or computers of your employees and agents.

        2.    If any portion of a document or communication is responsive to any request, the
entire document or communication should be produced.


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       3.      The connectives "and” and “or” shall be construed either disjunctively or
conjunctively as necessary to bring within the scope of the discovery request all responses that
might otherwise be construed to be outside of its scope.

       4.      The use of the singular form of any word includes the plural and vice versa.

       5.      If you claim privileges aground for not answering a request, then you should
provide a privilege log in accordance with Rule 26 of the Federal Rules of Civil Procedure.


                              REQUESTS FOR PRODUCTION

   1. All documents contained in Jessica Serrett’s personnel file concerning her time working
      for the UCS.

   2. All documents contained in Barry Porsch’s personnel file concerning his time as an
      elected judge.

   3. All documents contained in Ronald Pawelczak’s personnel file concerning his time
      working for the UCS.

    4. All documents contained in Amy Field’s personnel file concerning her time working for
       the UCS.

    5. All documents contained in Christopher Folk’s personnel file concerning his time
       working for the UCS and/or Barty Porsch.

    6. All communications, including without limitation text or chat messages on work or
       personal devices, concerning Jessica Serrett, from July 1, 2021 to the present involving
       the following current or former UCS employees or judges:
           a. Barry Porsch;
           b. Ronald Pawelczak;
           c. Amy Fields;
           d. Amy Monachino;
           e. Amie DeCicca;
           f. Lisa Cerra;
           g. Peggy Innis;
           h. Suzanne Leisenring;
           i. Carol Winslow;
           j. Lindsey Sholly;
           k. Joseph Waldorf;
           1. Stacy Astudillo; and/or
           m. William Taylor.

    7. All communications and documents concerning the hiring of Jessica Serrett to be Barry
       Porsch’s law clerk/court attorney in or around November 2021.

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 8. All communications and documents concerning the end of Jessica Serrett’s employment
    as Barry Porsch’s law clerk/court attorney in or around February 2022.

 9. All communications, from January 18, 2022 to February 14, 2022, involving Jessica
    Serrett and the following current or former UCS employees or judges:
        a. Angela Szewczyk
        b. Joseph Waldorf;
        c. Nicole Fantigrossi; and
        d. Nicole Botti.

 10. All communications involving Barry Porsch concerning Jessica Serrett’s work on or
     involvement, from November 1, 2021 to February 14, 2022, with:
         a. Supreme Court cases or other Supreme Court matters;
         b. Cases or matters other than Supreme Court cases.

 11. All documents and communications from January 1, 2021 to the present concerning any
     problems, issues, or management of the docket of, or progress of work on, Supreme
     Court cases or matters pending in Seneca County.

 12. All communications concerning the possibility of, and actual, termination or separation
     of Christopher Folk’s employment with UCS and/or Barry Porsch, involving Barry
     Porsch and:
         a. Craig Doran;
         b. William Taylor;
         c. Ronald Pawelczak; and/or
         d. any other Person.

 13. All communications and documents concerning Jessica Serrett’s complaint filed with the
     NYS Division for Human Rights against, among others, Barry Porsch, and docketed as
     Case No. 10216303. Please provide a privilege log for any documents or communications
     asserted to be protected by the attorney-client privilege or work product doctrine.

 14. All communications and documents concerning this Action involving Barry Porsch,
     Ronald Pawelczak, and/or Amy Fields which are not protected by the attorney-client
     privilege or work product doctrine.

 1 5. All documents and communications concerning Jessica Serrett’s intention to care for a
      foster child from January 1 8, 2022 to the present.

 16. All documents and communications concerning Jessica Serrett’s request or proposal to
     take time off of work during the months of February and March 2022 for purposes of
     caring for a foster child.

 17. All documents and communications concerning the placement of a foster child in Jessica
     Serrett’s care at any time.
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 18. All communications involving both Ronald Pawelczak and Barry Porsch on February 4,
     2022.

 19. All documents and communications concerning Jessica Seiretl’s potential unemployment
     benefits or compensation from February 14, 2022 to the present, including without
     limitation communications involving the New York State Department of Labor.

 20. All documents concerning Jessica Serrett’s receipt of any Covid-19 vaccine.

 21. All documents and communications concerning an in-person meeting involving William
     Taylor and Barry Porsch in Seneca County on or around February 1, 2022.

 22. Transcripts of court proceedings of any and all cases and matters heard in any Seneca
     County court on December 3, 2021.

 23. Transcripts of court proceedings of any and all cases and matters heard in any Seneca
     County court on January 18, 2022.

 24. All documents and communications concerning Jessica Serrett’s role hearing, listening
     to, or meeting with any parties or counsel involved in case pending in Seneca County on
     December 3, 2021.

 25. All documents and communications concerning Jessica Serrett’s role hearing, listening
     to, or meeting with any parties or counsel involved in case pending in Seneca County on
     January 18, 2022

 26. All documents concerning any policy or written guidelines concerning a New York State
     judge’s law clerk or court attorney hearing, listening to, or meeting with parties in a
     pending case without the presence of a judge.

 27. All documents and communications concerning Jessica Serrett’s communications with
     Amy Fields in 2022 about potentially taking leave under the Family and Medical Leave
     Act (“FMLA”).

 28. Any policies or procedures applicable to Jessica Serrett’s communications with Amy
     Fields in 2022 about potentially taking FMLA leave.

 29. All FMLA forms furnished to Jessica Serrctt, and any completed FMLA forms returned
     by Jessica Serrett, between December 1, 2021 and February 14, 2022.

 30. All documents and communications concerning any New York State Commission on
     Judicial Conduct case, matter, or investigation involving Barry Porsch.

  31. All documents identifying instances where Jessica Serrett signed onto Microsoft Teams
      during a hearing or conference of any case or matter pending in Seneca County from

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    November 1, 2021 to February 14, 2022.

 32. All documents concerning any policies and procedures applicable to the UCS’s
     compliance with federal or state anti-discriminaiion and retaliation laws, including
     without limitation Title VII and NY Exec. Law § 296-a(l)(b).

 33. Any letters, including any drafts of such letters, which were provided to Jessica Serrett on
     February 1 4, 2022 communicating her resignation, in its/their native format with any and
     all metadata intact.

 34. All communications and documents concerning any consideration, investigation, review
     (legal or otherwise), input or guidance concerning the decision to provide Jessica Serrett
     the opportunity to resign in lieu of termination at any time, both before and after February
     14, 2022.

 35. All call logs concerning phone calls Barry Porsch made or received between November
     1, 2021 and February 14, 2022 concerning Jessica Serrett

 36. All documents concerning any litigation hold concerning Jessica Serrett’s New York
     State Division for Human Rights Complaint Case No. 10216303, or this Action.

 37. All documents and communications concerning Jessica Serrett’s work performance at
     any time.

 38. All documents concerning Jessica Serrett’s resignation on February 14, 2022.

 39. All audio or video recordings of Jessica Serrett, except for those where Jessica Serrett
     appears in person or virtually during a scheduled hearing, meeting or other appearance
     for a case or matter.

 40. All documents and communications concerning any complaints or grievances made
     concerning any Barry Porsch, Ronald Pawelczak, and/or Amy Fields.

 41. AU documents and communications concerning Jessica Serrett’s intentions or plans to
     become pregnant, or foster/adopt a child.

 42. AU documents and communications concerning the enclosed document bates-stamped
     Defendants000230 and its contents, including without limitation:
        a. the native file of the document;
        b. all texts referred to in the document;
        c. any OCA Inspector General documents or communications concerning Plaintiff
           or any Defendant;
        d. “Carol’s emails [attached] to this note”;
        e. The last paragraph, which begins with “On or about 6PM...” and ends with
             ..for a possible investigation by the OCA IG Office.”

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  43. All documents and communications from Plaintiff to former Judge Richard Dollinger
      and/or his assistant Kim Keskin concerning Judicial Referee Daniel Majchrzak Jr.




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January 7, 2022(4:15 PM)
Present:      Hon. William K. Taylor, Ronald W. Pawelczak, Joeph Waldorf

I received a text earlier in the morning from the Hon. Barry Porsch indicating he wanted to speak
with me about an issue with his law clerk Jessica Serrett. At appx. 4:10PM J Porsche texted me
stating he was free to speak. I called J Porsch at 4:15 and asked if he had any problem with J.
Taylor joining the call along with his law clerk Joe Waldorf. The judge stated he had no issue
with this request. J Porsche stated that before the holiday recess Jessica had texted him to let him
know that she was under investigation by OCA and had a hearing on Monday of next week over
the sale of jewelry during work hours or using work computer assets. Jessica speculated who
may have turned her in but did not know for certain.

J Porsch indicated that he was told by security that Jessica frequently states she has a close or
tight relationship with the former AJ Craig Doran and the current AJ, J Taylor. J Taylor stated ,
with respect to himself, that was not accurate.

He also informed us that she had told his secretary that she was having an affair with a Monroe
based Judge and that she had over 200 texts that she turned over. She further stated that she did
not return texts as she did not want a record but would call this judge. She additional told the
secretary that she had received gifts from this judge. Unfortunately, the Judge stated that the
secretary could not recall the name of this judge. I recommended she review' the director of
judges in the chance it may refresh her memory- J Porsch informed us they had tried that to no
avail.

The Judge stated that at a party before Christmas she told ATFC Kathy ???? that she was
planning on running for judge .

J Porsch stated that he no longer trusts his law clerk. I inquired as to her perfonnance - he stated
she is on the phone a lot on personal calls and that currently she has a few draft decisions she has
rendered to review which may help him better judge her performance.

                             -
At approximately, 5:15 PM 1 reached out to Sherrill Spatz asking her to contact me. I received
an away message in which the message stated to contact Carol Hamm. I spoke with Carol
shortly, thereafter, to let obtain clarification as to where the Serrett investigation wras in their
office as neither J Taylor nor I had been contacted about it and to let her know about this alleged
 relationship between a judge and Jessica. Since w'e do not know the name of the judge we
cannot tell if there is a supervisory' relationship between Judge and Jessica and felt it necessary to
advise the 1G of it.

1 have attached Carol’s emails to this note.

On or about 6PM, I spoke with J Taylor who informed me he had advised the DCAJ of this issue
as well as having spoken to J. Postel, JCC who informed him as well as to notify the IG for a
possible investigation by the OCA IG Office.
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